Case 1:17-cv-00290-JCF Document1-2 Filed 01/25/17 Page 1of2

Exhibit “B”

Corporation

Case 1:17-cv-0029Q-JCF~ Document 1-2 Filed 01/25/17 + Page 2 of 2

a a, iY

om Action No. \oW| aq Magistrate Court a

7 | Le Superior Court Qo
Date Filed \2- 22- State Court Oo
Georgia, Gwinnett County
Attorney's Address ADAM MIKEL ROSEMAN
, sO : __ Plaintiff
VS, ‘ “Ne x
ALLIED VAN LIneés
Name and Address of party to be served. 7" Defendant
Ra | fet EB yperd—tet KES CORPLRATION SERvick ComPany
MO TECH MELO ev Pew SOUTH “OO
MOLE LOSS | Ga AoeAAD Garnishee
Sheriff's Entry Of Service
S
5 oO | have this day served the defendant personally with a copy
5 of the within action and summons.
| have this day served the defendant by leaving
3 "a copy of the action and summons at his most notorious place of abode in this County.
8 O Delivered same into hands of described as follows
= age, about years; weight, about pounds; height, about feet and inches; domiciled at
the residence of defendant.
L f } .
y Served the defendant p N pre Va nv wns a corporation
by leaving a copy of the within action and summons with A lithe Ca rth (2. i .
in charge of the office and place of doing business of said Corporation in this County.

Tack & Mail

Non Est

Oo

Oo

_ Diligent search made and defendant

| have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the
premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States
Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate
postage affixed thereon containing notice to the defendant(s) to answer said summons at the place stated in the summons.

not to be found in the jurisdiction of this Court.

This ofl day of DEC 2010.
an CALB8roa evs.
\l 7 WD NERY 0

Sheriff Docket Page os

Gwinnett County, Georgia

WHITE: Clerk CANARY: Plaintiff / Attorney PINK: Defendant

SC-2 Rev.3.13

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